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                              UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF MARYLAND


IN RE:

Lakel V. Ebb                                         *       Case No: 18-16171
                                                     *
                                                     *
                                                     *
           Debtor                                    *
                                                     *       Chapter 13

* * * * *           *   * *   *   *   *   *   *   * * * * * * * * * * * * *
Lakel V. Ebb

           Movant(s)
vs

Santander Consumer USA

           Respondent

* * * * *           *   * *   *   *   *   *   *   * * * * * * * * * * * * *

                 MOTION TO DETERMINE SECURED STATUS OF CLAIM
         AND MODIFY RATE OF INTEREST AND ADEQUATE PROTECTION PAYMENT

 Pursuant to Bankruptcy Rule 3012 and 11 USC Section 506, 1322(b) the Debtor(s), Lakel V. Ebb, by her
attorney, James R. Logan, files this Motion to Determine Secured Status of Claim and respectfully states:

1. That on May 7, 2018 Debtor commenced a case in the Court seeking relief under Chapter 13 of the
Bankruptcy Code.

2. That the Debtor’s 2007 Lexus ES350 has a perfected lien held by the Respondent in the amount of
$17,678.44. The contract was entered into in April 2014 and the contractual monthly payment was
$505.65. At the time of the filing of this Motion, the Respondent’s Proof of Claim was used and is attached
as Exhibit 1.

3. That the value of the Debtor’s vehicle is $8,825.00. A Blackbook Average Retail Value evaluation
was used to determine the value of the vehicle. A copy of which is attached as Exhibit 2.

4.   The Debtor believes that the 5.75% interest rate as proposed in the Chapter 13 Plan is a fair rate of
     return in the present market.
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WHEREFORE, the Debtor prays this Honorable Court:

 1. Enter an Order determining that, pursuant to Sections 506 and 1322(b) of the Bankruptcy Code and
Bankruptcy Rule 3012, the Respondent’s claim is secured in the amount of $8,825.00; and

 2. Enter an Order providing that the Allowed Secured Claim will be paid through the plan with an interest
rate of 5.75%; and

 3. For such other and further relief as may be just.


/s/ James R. Logan_
James R. Logan
Attorney for Debtor
2419 Maryland Ave.
Baltimore, MD 21218
     (410) 243-1508
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                                    CERTIFICATE OF SERVICE

        I hereby certify that on July 17, 2018 a copy of the foregoing Notice of Hearing, Motion to
Determine Secured Status of Debt and proposed Order was mailed by first class mail, postage prepaid to
the following:

Santander Consumer USA Inc
Attn: Amy Hudson
P.O. Box 961245
Fort Worth, TX 76161-1245


Resident Agent
The Corporate Trust
2405 York Road, Suite 201
Lutherville Timonium, MD 21093-2264


       I hereby certify that on July 17, 2018 a copy of the foregoing Notice of Hearing, Motion to
Determine Secured Status of Debt and proposed order was sent electronically via CM ECF to the
following:

Timothy P. Branigan, Trustee
Via cmecf@chapter13maryland.com



/s/ James R. Logan
                     James R. Logan
